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James I. Stang (admitted pro hac vice)
John W. Lucas
Gillian N. Brown
PACHULSKI STANG ZIEHL & JONES LLP
780 Third Avenue, 34th Floor
New York, NY 10017-2024
Telephone: 212.561.7700; Fax: 212.561.7777
Emails: jstang@pszjlaw.com
        jlucas@pszjlaw.com
        gbrown@pszjlaw.com

Counsel to the Official Committee of Unsecured Creditors

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

---------------------------------------------------------------X
                                                               :
In re                                                          : Chapter 11
                                                               :
MADISON SQUARE BOYS & GIRLS CLUB,                              : Case No. 22-10910-SHL
INC.,1
                                                               :
                           Debtor.                             :
                                                               :
---------------------------------------------------------------X

             CERTIFICATE OF NO OBJECTION REGARDING
ELEVENTH MONTHLY FEE STATEMENT OF PACHULSKI STANG ZIEHL & JONES LLP

        In accordance with the procedures established under the Order Pursuant to 11 U.S.C.

§§ 105(A) and 331 Establishing Procedures for Monthly Compensation and Reimbursement of

Expenses of Professionals, entered on August 12, 2022 [Docket No. 125] (the “Compensation

Order”), the undersigned counsel for the Official Committee of Unsecured Creditors (the

“Committee”) hereby certifies as follows:

        1.       On June 20, 2023, counsel to the Committee at Pachulski Stang Ziehl & Jones LLP

(“PSZJ”) filed the Eleventh Monthly Fee Statement of Pachulski Stang Ziehl & Jones LLP for

Compensation for Services Rendered and Reimbursement of Expenses Incurred as Counsel to the

1
The last four digits of the Debtor’s federal tax identification number are 6792. The Debtor’s mailing address is 250
Bradhurst Avenue, New York, New York 10039.
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Official Committee of Unsecured Creditors for the Period from May 1, 2023 Through May 31,

2023 [Docket No. 538] (the “Monthly Fee Statement”).

        2.       In accordance with the Compensation Order, (a) objections to the Monthly Fee

Statement were due no later than July 5, 2023 (the “Objection Deadline”). Paragraph 2(c) of the

Compensation Order provides, in relevant part, “[u]pon the expiration of the Objection Deadline,

each Professional may file a certificate of no objection or certification of counsel with the Court,

whichever is applicable, after which the Debtor is authorized to pay each Professional an amount

(the “Actual Payment”) equal to the lesser of (a) 80% of the fees and 100% of the expenses
requested in the Monthly Fee Application (the “Maximum Payment”), and (b) the aggregate

amount of fees and expenses not subject to an objection.”

        3.       To the best of my knowledge, as of the filing of this Certificate of No Objection,

no objection or other responsive pleading to the Monthly Fee Statement has been (a) filed with the

Court on the docket of the above-captioned chapter 11 case, or (b) served on PSZJ.




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        4.       The Monthly Fee Statement was filed and served in accordance with the

Compensation Order. Consequently, pursuant to the Compensation Order, without the need for a

further order of the Court, and upon the filing of this Certification, the Debtor is authorized to pay

PSZJ the Actual Payment requested in the Monthly Fee Statement.

 Dated: July 21, 2023                    PACHULSKI STANG ZIEHL & JONES LLP

                                         /s/Gillian N. Brown
                                         James I. Stang (admitted pro hac vice)
                                         John W. Lucas
                                         Gillian N. Brown
                                         780 Third Avenue, 34th Floor
                                         New York, NY 10017-2024
                                         Tel: 212.561.7700; Fax: 212.561.7777
                                         Emails: jstang@pszjlaw.com
                                                  jlucas@pszjlaw.com
                                                  gbrown@pszjlaw.com

                                         Counsel to the Official Committee of Unsecured
                                         Creditors




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